 1                                                                                  Honorable Marc L. Barreca
 2                                                                                                 Chapter 7
 3                                                                              Hearing Date: March 18, 2015
 4
                                                                                     Hearing Time: 1:00 p.m.
 5
 6
                                                                     Hearing Place: Kitsap County Courthouse
 7                                                                            Response Date: March 11, 2015
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18                                 UNITED STATES BANKRUPTCY COURT
19                                 WESTERN DISTRICT OF WASHINGTON
20                                           AT SEATTLE
21
22
       In re                                                 Case No. 14-10421-MLB
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25     CASEY R. INGELS,
26                                      Debtor.
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29
30     JOHN S. PETERSON, as Bankruptcy Trustee,              Adversary No. 14-01387-MLB
31
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33
                                        Plaintiff,
34                                                           PROOF OF SERVICE
35     vs.
36
37     CASEY R. INGELS,
38
39                                      Defendant.
40
41
42
43                  Jamie McFarlane, under penalty of perjury, declares that on February 18, 2015, I
44           caused a copy of:
45
46              •   Defendant’s Motion for Summary Judgment
47
                •   Notice of Hearing
                •   Declaration of Casey Ingels
        PROOF OF SERVICE - 1
                                                                           720 Olive Way, Suite 1000
                                                                               Seattle, WA 98101
                                                                     206-624-9894 phone / 206-624-8598 fax


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 1           •   Declaration of Gwendolyn Ingels
 2
             •   Declaration of Joseph Noll
 3
 4           •   Declaration of Kathryn Hanson
 5           •   Declaration of Tricia Yue
 6
 7       to be served via CM/ECF on the following party:
 8
 9
10
         John S Peterson on behalf of Plaintiff John S Peterson kingstontrustee@hotmail.com
11
12               I declare under penalty of perjury that the foregoing is true and correct.
13
14               DATED this 18th day of February 2015.
15
16
17                                                               /s/ Jamie J. McFarlane
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                                                         Jamie J. McFarlane
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